Case 2:20-cv-09029-MRW Document 25 Filed 10/27/21 Page1lofi Page ID #:54

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-9029 MRW Date October 27, 2021

 

Title Kristina Bjork v. In-N-Out Burgers

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER DISMISSING CASE

The parties filed a notice dismissing this case with prejudice. (Docket # 24.) This action is
dismissed with prejudice.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 1
